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 1   SO. CAL. EQUAL ACCESS GROUP
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     EDMOND NEAL
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     EDMOND NEAL,                                      Case No.: 2:21-cv-02218 MWF (KSx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     MANSHADI INVESTMENT, LLC D/B/A
15   LOS FELIZ CHEVRON; LOS FELIZ
16   SERVICE, INC.; and DOES 1 to 10,

17
                  Defendants.
18
19
20         PLEASE TAKE NOTICE that EDMOND NEAL

21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby

22   voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil

23   Procedure Rule 41(a)(1) which provides in relevant part:
24         (a) Voluntary Dismissal.
25                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26                       and any applicable federal statute, the plaintiff may dismiss an action
27                       without a court order by filing:
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: April 23, 2021 SO. CAL. EQUAL ACCESS GROUP
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 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
